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                  IN THE UNITED STATES DISTRICT COURT
                  FOR THE MIDDLE DISTRICT OF ALAMABA

                                             )
ARCHIE LOCKLEY,                              )
          Plaintiff                          )
                                             )
       v.                                    ) Case No.: 2:17-cv-00575-SRW
                                             )
                                             )
ACCOUNTS RECEIVABLE                          )
TECHNOLOGIES,                                )
                                             )
              Defendant                      )

                     NOTICE OF VOLUNTARY DISMISSAL


TO THE CLERK:

       Pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(i), Plaintiff voluntarily

dismisses the Complaint with prejudice.




Dated: October 17, 2017                    BY: /s/ Amy L. Bennecoff Ginsburg
                                           Amy L. Bennecoff Ginsburg, Esquire
                                           Kimmel & Silverman, P.C
                                           30 East Butler Pike
                                           Ambler, PA 19002
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                                           Attorney for Plaintiff
      Case 2:17-cv-00575-SRW Document 8 Filed 10/17/17 Page 2 of 2




                                  Certificate of Service

       I hereby certify that on this 17th day of October, 2017, a true and correct copy of

the foregoing pleading served via mail to the below:


Accounts Receivable Technologies
377 Hoes Lane
Suite 200
Piscataway NJ 08820


                                              /s/ Amy L. Bennecoff Ginsburg
                                              Amy L. Bennecoff Ginsburg, Esquire
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                                              Attorney for Plaintiff
